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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                         MISSOULA DIVISION

TODD F. STEVENSON, an
individual on behalf of himself, and as         CV 24–109–M–DLC
grantor of the Todd Stevenson 2013
Irrevocable Family Trust and the Todd
F. Stevenson Irrevocable Life
Insurance Trust; TERRI L.                            ORDER
STEVENSON, an individual on
behalf of herself, and as grantor of the
Terri L. Stevenson 2016 Irrevocable
Family Trust; TODD J.
STEVENSON, an individual; and
JOSEPH D. STEVENSON, an
individual on behalf of himself, and as
grantor of the Joseph D. Stevenson
Irrevocable Life Insurance Trust;
JANETTE KRUTZFELDT JONES,
on behalf of and as trustee for the
Todd Stevenson 2013 Irrevocable
Family Trust, the Todd F. Stevenson
Irrevocable Life Insurance Trust, the
Terri L. Stevenson 2016 Irrevocable
Family Trust, and Joseph D.
Stevenson Irrevocable Life Insurance
Trust; and STEVENSON AND SONS
FUNERAL HOMES,

             Plaintiffs,

       v.

MASSACHUSETTS MUTUAL LIFE
INSURANCE COMPANY; THE
PENN MUTUAL LIFE INSURANCE
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COMPANY; THE PENN
INSURANCE AND ANNUITY
COMPANY; SUMMIT FINANCIAL
GROUP; GP CAPITAL PARTNERS
LLC; THE BURGESS GROUP, INC.;
JOSHOA Q. GARDNER, an
individual; WINTRUST LIFE
FINANCIAL, a Division of Lake
Forest Bank & Trust CO., N.A.;
BARRINGTON BANK & TRUST
CO., N.A., CMS NATIONAL
SERVICES, LLC; and JOHN DOES
1–5,

             Defendants.


      Before the Court is Defendant CMS National Services, LLC’s (“CMS”)

motion for the admission of attorney Elizabeth Fellmeth of Freeman, Mathis &

Gary, LLP, pro hac vice, in the above-captioned matter. (Doc. 121.) Ms.

Fellmeth’s application (Doc. 121-1.) does not comply with this Court’s Local

Rules governing the admission of counsel pro hac vice. L.R. 83.1(d). Specifically,

Ms. Fellmeth fails to provide her fax number. See L.R. 83.1(d)(4)(A).

      Accordingly, IT IS ORDERED that the motion (Doc. 121) is DENIED

WITHOUT PREJUDICE.

      DATED this 11th day of March, 2025.




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